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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

ROXANA ORELLANA SANTOS,                  *

             Plaintiff                   *

      v.                                 *      Case No: CCB-09-CV-2978

FREDERICK COUNTY BOARD                   *
OF COMMISSIONERS, et al.,
                                         *
             Defendants
                                 *
                STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

hereby stipulate and agree to dismiss this action and all claims therein against all

Defendants with prejudice.
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Date: June 3, 2020                        Respectfully submitted,



                                          KARPINSKI, COLARESI & KARP

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of June 2020, a copy of the foregoing was

electronically filed, with notice to:

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                                                   /s/
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